Case 23-12825-MBK              Doc 1549        Filed 10/30/23 Entered 10/30/23 08:58:30           Desc Main
                                             Document      Page 1 of 4




  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

  PAUL HASTINGS LLP
  200 Park Avenue
  New York, New York 10166
  Kristopher M. Hansen (admitted pro hac vice)
                                                                       Order Filed on October 30, 2023
  Ryan P. Montefusco (admitted pro hac vice)                           by Clerk
                                                                       U.S. Bankruptcy Court
  PAUL HASTINGS LLP                                                    District of New Jersey
  71 South Wacker Drive, Suite 4500
  Chicago, Illinois 60606
  Matthew M. Murphy (admitted pro hac vice)
  Matthew Micheli (admitted pro hac vice)
  COLE SCHOTZ P.C.
  Court Plaza North
  25 Main Street
  P.O. Box 800
  Hackensack, New Jersey 07602-0800
  Michael D. Sirota
  Warren A. Usatine
  Seth Van Aalten (admitted pro hac vice)
  Justin Alberto (admitted pro hac vice)
  PARKINS & RUBIO LLP
  700 Milam, Suite 1300
  Houston, Texas 77002
  Lenard M. Parkins (admitted pro hac vice)
  Charles M. Rubio (admitted pro hac vice)
  Counsel to Ad Hoc Committee of Supporting
  Counsel
  In re:                                                  Chapter 11

  LTL MANAGEMENT LLC,3                                    Case No.: 23-12825 (MBK)

                               Debtor.                    Judge: Michael B. Kaplan




  ORDER SHORTENING TIME PERIOD FOR NOTICE, SETTING HEARING AND LIMITING NOTICE


  DATED: October 30, 2023
Case 23-12825-MBK     Doc 1549     Filed 10/30/23 Entered 10/30/23 08:58:30   Desc Main
                                 Document      Page 2 of 4




       The relief set forth on the following page is ORDERED.




                                             2
Case 23-12825-MBK        Doc 1549     Filed 10/30/23 Entered 10/30/23 08:58:30           Desc Main
                                    Document      Page 3 of 4




        On request of the Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting

 Counsel”), by and through its counsel, for reduction of time for a hearing on the Ad Hoc Committee

 of Supporting Counsel’s Motion to Supplement the Record on Appeal (the “Motion”), under Fed.

 R. Bankr. P. 9006(c)(1), it is

        ORDERED as follows:

        1.      A hearing will be conducted on the Motion on November 15, 2023 at 11:15 a.m.

 in the United States Bankruptcy Court for the District of New Jersey, at Clarkson S. Fisher U.S.

 Courthouse, located at 402 East State Street, Trenton, NJ 08608 before the Honorable Michael B.

 Kaplan, Chief Bankruptcy Judge, in Courtroom No. 8.

        2.      The AHC of Supporting Counsel must serve a copy of this Order, and all related

 documents, on the following parties: Debtor’s counsel, counsel to the Official Committee of Talc

 Claimants and counsel to the United States Trustee.

        by տ each, ‫ ܈‬any of the following methods selected by the Court:

        տ fax, տ overnight mail, տ regular mail, ‫ ܈‬email, տ hand delivery.

        3.       The AHC of Supporting Counsel must also serve a copy of this Order on the

 following parties:

        by տ each, տ any of the following methods selected by the Court:

        տ fax, տ overnight mail, տ regular mail, տ email, տ hand delivery.

        4. Service must be made:

        տ on the same day as the date of this order, or

        տ within ________ day(s) of the date of this Order.

        5.       Notice by telephone:


                                                 3
Case 23-12825-MBK          Doc 1549     Filed 10/30/23 Entered 10/30/23 08:58:30         Desc Main
                                      Document      Page 4 of 4




        տ is not required

        տ must be provided to _____________________________________________________

               տ on the same day as the date of this Order, or

               տ within _________ day(s) of the date of this Order.

        6.         A Certification of Service must be filed prior to the hearing date.

        7.         Any objections to said motion/application identified above:

        տ must be filed with the Court and served on all parties in interest by electronic or

 overnight mail __________ day(s) prior to the scheduled hearing; or

        տ may be presented orally at the hearing.

        8.        տ Court appearances are required to prosecute said motion/application and any

 objections.

                  տ Parties may request to appear by phone by contacting Chambers prior to the

 return date.




                                                    4
